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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                    Civil Division

DANIEL J. SMITH, III,                        :
                                             :
               Plaintiff,                    :
v.                                           :      Case No. 1:16-cv-2242 (CJN)
                                             :
HOLLAND, LP,                                 :
                                             :
               Defendant                     :


                                NOTICE OF SETTLEMENT

       THE CLERK OF THE COURT will please note that this action is settled and should be

removed from the Court’s February 24, 2020 trial docket. The parties request that this matter be

set for a Status Conference at the Court’s convenience in approximately thirty days to allow the

parties time to agree to the terms of a written agreement and to prepare and file with the Court a

final Praecipe of Dismissal.

Respectfully submitted,

DANIEL J. SMITH, III                                        HOLLAND, LP
By Counsel                                                  By Counsel

ChasenBoscolo Injury Lawyers                                CARR MALONEY P.C.


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